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IN THE UNITED STATES DISTRICT COURT FEB -1 2022
FOR THE DISTRICT OF MARYLAND ie
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DISTRICT OF MARYLAND
UNITED STATES OF AMERICA CRIMINAL NO BY DEPUTY
DLO Der By
v. (18 U.S.C. § 371, Conspiracy; 18 U.S.C.
§ 981(a)(1)(C), 21 U.S.C. § 853(p), 28
JOHN R. CONIGLIARO, U.S.C. § 2461(c), Forfeiture)
Defendant.

INFORMATION

COUNT 1
Conspiracy

The United States Attorney for the District of Maryland charges that:
Background
l. Defendant JOHN R. CONIGLIARO (“CONIGLIARO”) was a resident of
Harford County, Maryland. CONIGLIARO was the owner and Chief Executive Officer of
EISCO, Inc. (“EISCO”). EISCO was located at 4011 Miller Road, Kingsville, Maryland 21087.
2 Aberdeen Proving Ground (“APG”) was a U.S. Army facility located adjacent to

Aberdeen, Harford County, Maryland.

3. The U.S. Army Combat Capabilities Development Command (“CCDC”) Chemical
Biological Center (“CB Center”) located at APG was the nation’s principal research and
development center for nonmedical chemical and biological weapons defense. The CB Center
developed technology in the areas of detection, protection, and decontamination.

4, Among other tools, the scientists and researchers at the CB Center utilized an
Ambient Breeze Tunnel for its aerosol and bio-aerosol detection research and testing. The

Ambient Breeze Tunnel was a converted warehouse that could be maintained at the same
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temperature and humidity as the outside temperature, allowing testing to take place in actual
environmental conditions. The Ambient Breeze Tunnel used a high-efficiency particulate air
(“HEPA”) filtration system to pump air in and out of the Ambient Breeze Tunnel.
5; From February 2009 until the present, a public official, “PUBLIC OFFICIAL 1,”
was employed by the Army as a Research Biologist at the CCDC CB Center.
The Conspiracy and its Objects
6. From in or about 2012 to in or about 2019, in the District of Maryland and
elsewhere, the defendant,
JOHN R. CONIGLIARO,
knowingly and willfully conspired and agreed with PUBLIC OFFICIAL 1 and other co-
conspirators known and unknown to members of the Grand Jury, to violate 18 U.S.C. § 201(b),
whereby CONIGLIARO did, directly and indirectly, corruptly give, offer, and promise a thing of
value to PUBLIC OFFICIAL 1, a public official, with the intent to influence an official act, that is
CONIGLIARO gave cash and other financial benefits to PUBLIC OFFICIAL | in exchange for
PUBLIC OFFICIAL 1 undertaking an official act on behalf of the CB Center that benefited EISCO
and CONIGLIARO.
"i The objects of the conspiracy were to:
a. direct CB Center work to EISCO in exchange for things of value given to PUBLIC
OFFICIAL 1;
b. obtain financial benefits for PUBLIC OFFICIAL | and CONIGLIARO; and
c. hide the things of value being provided to PUBLIC OFFICIAL 1 in exchange for

official acts.
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Overt Acts in Furtherance of the Conspiracy

8. On or about July 22, 2013, PUBLIC OFFICIAL 1 caused the government to award
Contract No. W911SR-10-D-004-0010, Modification No. 26, to a prime contractor, Science
Applications International Corporation (“SAIC”), with the expectation that SAIC would retain
EISCO to perform the work. Pursuant to Modification 26, the CB Center agreed to provide
$300,000.00 in funding for work on the Ambient Breeze Tunnel.

9. On September 12, 2013, CONIGLIARO paid $349.41 for brake lines to be
installed on PUBLIC OFFICIAL 1’s personal vehicle.

10. | On October 7, 2013, CONIGLIARO gave PUBLIC OFFICIAL 1| $40,000.00 in
cash to finance the purchase of rental properties.

Uh. On October 7, 2013, PUBLIC OFFICIAL | executed an “Unsecured Promissory
Note,” (“Promissory Note”), documenting that CONIGLIARO had given PUBLIC OFFICIAL |
$40,000.00, purportedly as a zero percent interest loan, which would be repaid within six months.

12. On October 7, 2013, CONIGLIARO sent a text message to PUBLIC OFFICIAL
1 stating, “I’m giving you 2k more after the tunnel job is done.”

13. On or about October 31, 2013, PUBLIC OFFICIAL | purchased two real estate
properties in Perryville, Maryland (“Perryville Rental Properties”) using the funds that
CONIGLIARO had provided to PUBLIC OFFICIAL 1.

14. On June 14, 2014, PUBLIC OFFICIAL | amended the Promissory Note,
documenting that: (1) PUBLIC OFFICIAL 1 repaid $18,100.00 of the loan by directing CB Center
projects to EISCO; (2) CONIGLIARO agreed to loan PUBLIC OFFICIAL | an additional
$25,000.00; and (3) PUBLIC OFFICIAL 1 planned to pay a portion of the outstanding amount of
the loans with CB Center projects that PUBLIC OFFICIAL | planned to direct to EISCO.

3
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a. PUBLIC OFFICIAL 1’s handwritten notes on the Promissory Note detailed how

PUBLIC OFFICIAL | determined the $18,100.00 amount. PUBLIC OFFICIAL |

wrote:

Fleets C6

ute claw G.O
ZoA\. Avheclau 4.0
TWareelul S, 0-5 -

IS. (

b. “Floors,” “Autoclave,” “Sell Autoclave,” and “Thresholds” all referred to projects

that PUBLIC OFFICIAL | had directed to EISCO.

c. PUBLIC OFFICIAL 1’s handwritten notes also detailed how PUBLIC OFFICIAL

1 intended to repay an additional $22,000.00 to CONIGLIARO. PUBLIC
OFFICIAL | wrote:

QI |.c
Crane 49.6
Deos $2

Bsolabs 13. 2
22 .O
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d. “Rental,” “Crane,” “Doors,” and “Biolabs” all referred to projects that PUBLIC
OFFICIAL | planned to direct, and later did direct, to EISCO.

15. On October 19, 2014, CONIGLIARO made two purchases at Home Depot using
his personal credit card, totaling $2,013.02 for materials that were to be used for renovations to
the Perryville Rental Properties.

16. On October 22, 2014, CONIGLIARO made two purchases at Home Depot using
his personal credit card, totaling $4,864.81 for materials that were to be used for renovations to
the Perryville Rental Properties.

17. On the dates listed below, CONIGLIARO, using EISCO funds, made the
payments listed below to a home renovation contractor (“Renovation Contractor 1”), for work on
the Perryville Rental Properties:

a. October 20, 2014 payment for $818.75
b. October 21, 2014 payment for $1,890.54
c. October 21, 2014 payment for $665.00
d. October 23, 2014 payment for $715.00
e. October 24, 2014 payment for $1,179.73
f. October 24, 2014 payment for $715.00
g. October 24, 2014 payment for $715.00
h. October 29, 2014 payment for $2,865.00

18. On or about December 28, 2016, PUBLIC OFFICIAL 1 caused the Army to award

Contract No. W911SR-10-D-0020, Task Order 004, Modification No. 21 (“Modification 21”) to

a prime contractor, Excet, Inc. (“Excet’’), with the expectation that Excet would retain EISCO to
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perform the work. Modification 21 provided more than $100,158.00 in funding for work on the
Ambient Breeze Tunnel.

19. On or about January 27, 2017, PUBLIC OFFICIAL | caused the government to
award Contract No. W911SR-10-D-0020, Task Order 004, Modification No. 24 (“Modification
24”) to Excet, with the expectation that Excet would award the project to EISCO. Modification
24 provided $394,000.00 in funding for work on the Ambient Breeze Tunnel.

20. On February 6, 2017, PUBLIC OFFICIAL | emailed CONIGLIARO a kitchen
design and quote from the Home Depot website.

21. On February 11, 2017, CONIGLIARO, using EISCO funds, purchased $8,960.03
of items from Home Depot, including many of the items listed in PUBLIC OFFICIAL 1’s February
6, 2017 email.

22. On March 21, 2017, CONIGLIARO placed an online order with Home Depot for
a 33-inch apron sink, which cost $890.39.

23. On April 20, 2017, CONIGLIARO, through EISCO, paid Advanced Granite
Solutions $1,000.00 for a granite counter that was to be installed in the kitchen of PUBLIC
OFFICIAL 1’s personal residence.

24. On May 8, 2017, CONIGLIARO, through EISCO, paid a renovation contractor
(“Renovation Contractor 2”) $9,146.50 to renovate the kitchen at PUBLIC OFFICIAL 1’s personal
residence using the materials that CONIGLIARO purchased.

25. On May 26, 2017, PUBLIC OFFICIAL | caused the Army to award Contract No.
W911SR-10-D-0020, Task Order 004, Modification No. 32 to Excet, with the expectation that
Excet would retain EISCO to perform the work. Modification 32 provided $335,000.00 in funding

for work on the Ambient Breeze Tunnel.
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26. On July 8, 2017, CONIGLIARO, through EISCO, paid Advanced Granite
Solutions $1,016.50, which was the remaining balance owed for the granite countertop that was
installed at PUBLIC OFFICIAL 1’s residence.

27. On or about August 22, 2017, PUBLIC OFFICIAL | caused the Army to award
Contract No. W911SR-10-D-0020, Task Order 004, Modification No. 35, to Excet, with the
expectation that Excet would retain EISCO to perform the work. Modification 35 provided
$110,158.00 in funding to perform work at Kirtland Air Force Base in Kirtland, New Mexico.

28, On February 14, 2018, CONIGLIARO paid Renovation Contractor 2 $16,430.00
to replace the siding on PUBLIC OFFICIAL 1’s personal residence.

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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further alleges that:

Li. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c) as a result of the defendant’s
conviction under the offense set forth in Count One of this Information.

2. Upon conviction of Count One of this Information, the defendant

JOHN R. CONIGLIARO
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any and all property, real or personal, which constitutes or is derived from proceeds traceable to
such offense.

S. The property to be forfeited includes but is not limited to a money judgment in an
amount equal to the total amount of any property, real or personal, which constitutes or is derived
from proceeds traceable to a conviction under Count One of the Information, which amount is

approximately $1,800,000.

4, If any of the above-described property, as a result of any act or omission of the
defendant:
° cannot be located upon the exercise of due diligence;
° has been transferred, sold to, or deposited with a third party;
° has been placed beyond the jurisdiction of the Court;
e has been substantially diminished in value; or
° has been commingled with other property which cannot be divided

without difficulty,

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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.
§ 2461(c), to seek forfeiture of any other substitute property of the defendant up to the value of the
forfeitable property described above.

18 U.S.C. § 981(a)(1)(C)

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

Cuk L. Barron/ MPP

Erek L. Barron
United States Attorney

 
